 Case 2:25-cv-00337-JLB-NPM               Document 17         Filed 06/16/25    Page 1 of 2 PageID 246
                              IN THE UNITED STATES DISTRICT COURT

                              FOR THE MIDDLE DISTRICT OF FLORIDA

                                          FORT MYERS DIVISION



RICHARD A. LUTHMANN,
an individual,                     CASE NO: 2:25-cv-00337

Plaintiff,

vs.

DANESH NOSHIRVAN,
Defendant.



                                    NOTICE OF A RELATED ACTION


Pursuant to this Court's Civil Action Order, a Notice of Related Action must be filed in all cases in the Fort
Myers Division, even if no related action exists. See Dkt. 3, ¶ 7.


Unrepresented parties must inform the Court about any related cases previously filed with any court or
administrative agency. And counsel and unrepresented parties have a continuing duty to promptly inform the
Court of any newly filed similar or successive cases by filing an Amended Notice.


I certify that the above-captioned cases are related to pending previously filed in this Court, or any other
federal or state court, or administrative agency as indicated below:


(1) Danesh Noshirvan v. Jennifer Couture, Et'al, 2:23-cv-1218-JES-KCD;
(2) USCA11 Case: 25-11463-F Case Style: Danesh Noshirvan v. John Doe, et al, District Court Docket No:
2:23-cv-01218-JES-KCD; and
(3) Couture et'al v. Noshirvan, 2:23-cv-00340-SPC-KCD.


Respectfully submitted,


Danesh Noshirvan
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                                        CERTIFICATE OF SERVICE

The undersigned certifies that, on June 16, 2025, a true copy of this document was served upon all counsel of
record via the Court's electronic filing system.



/s/ Danesh Noshirvan
